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 7
                          UNITED STATES DISTRICT COURT
 8                   FOR THE EASTERN DISTRICT OF WASHINGTON
 9     UNITED STATES OF AMERICA,
10                                                 2:19-CR-00049-RMP
                                 Plaintiff,
11                     vs.                         Joint Status Report
12
     JAYDIN H.W. LEDFORD,
13
14                              Defendant.
15         Plaintiff, United States of America, by and through Joseph H. Harrington,
16 United States Attorney for the Eastern District of Washington, and Patrick J.
17 Cashman, Assistant United States Attorney for the Eastern District of Washington,
18 and Andrea George and Lorinda Youngcourt, counsel for the Defendant Jayden
19 H.W. Ledford, hereby submits the following Joint Status Report pursuant to this
20 Court’s Pretrial Order. (ECF No. 25).
21        On March 27, 2019, counsel for all parties in this case conferred regarding
22 the status of discovery. The United States provided approximately one hundred
23 thirty-three (133) pages of discovery on March 13, 2019 via the USAFX discovery
24 cloud. On March 14, 2019, the United States provided copies of the interview of the
25 Defendant and the victim in this case. The United States also provided on March
26 14, 2019, approximately sixty-four (64) photographs. The Unites States also
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     Joint Status Report - 1
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     anticipates securing the content of the Defendant’s Facebook account. The United
 1
     States will promptly disclose to the defense any additional discovery received.
 2
 3
           Dated: March 28, 2019.
 4
 5
                                                  Joseph H. Harrington
 6                                                United States Attorney
 7
 8                                                s/ Patrick J. Cashman
                                                  Patrick J. Cashman
 9
                                                  Assistant United States Attorney
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     Joint Status Report - 2
       Case 2:19-cr-00049-RMP     ECF No. 26    filed 03/28/19   PageID.71 Page 3 of 3




 1                             CERTIFICATE OF SERVICE
 2
           I hereby certify that on March 28, 2019, I electronically filed the foregoing with
 3
 4 the Clerk of the Court using the CM/ECF system which will send notification of such
 5 filing to the following:
 6
           Andrea K George: andrea_george@fd.org
 7         Lorinda Youngcourt: lorinda_youngcourt@fd.org
 8
 9
10                                                s/Patrick J. Cashman
                                                  Patrick J. Cashman
11                                                Assistant United States Attorney
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     Joint Status Report - 3
